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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

_y. - : INDICTMENT
JAMES CAHILL, 20 Cr.

CHRISTOPHER KRAET,
PATRICK HILL,
MATTHEW NORTON,
WILLIAM BRIAN WANGERMAN,
KEVIN MCCARRON
JEREMY SHEBRAN,
a/k/a “Max,”
ANDREW MCKEON,
ROBERT EGAN,
SCOTT ROCHE, and
ARTHUR GIPSON, -

Defendants.

COUNT ONE
(Racketeering Conspiracy)

The Grand Jury charges:

The Enterprise

1. At all times relevant to this. Indictment, JAMES CAHILL,
CHRISTOPHER KRAFT, PATRICK HILL, MATTHEW NORTON, WILLIAM BRIAN
WANGERMAN, KEVIN MCCARRON, JEREMY SHEERAN, a/k/a “Max,” ANDREW
MCKEON, and ROBERT EGAN; the defendants, and others known and
unknown, were members of an enterprise (the “Enterprise”) comprised
of current and former officials of Local 638 of the Enterprise
Association of Steamfitters (“Local 638”). The Enterprise was a

criminal organization whose members agreed to engage in, among

other activities, honest services fraud, receipts of bribes as

 

 

 
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labor union officials, and unlawful receipt of employer payments to
labor organization officials. Since at least in or around October
2018, defendant-members of the Enterprise conspired to receive
dozens of payments totaling over $100,000, for which the defendants
agreed to betray their unions’ trust by taking actions favorable to
non-union employers and exercising corrupt influence on the conduct
of labor-management relations in the construction trades.

2. The Enterprise constituted an “enterprise,” as that term
is defined in Title 18, United States Code, Section 1961(4)—that
is, a group of individuals associated in fact. This Enterprise was
engaged in, and its activities affected, interstate and foreign
commerce. The Enterprise, which was based in New York City and
Long Island, operated in the Southern District of New York and
elsewhere, and constituted an ongoing organization whose members
functioned as a continuing unit for a common purpose of achieving
the objectives of the Enterprise.

3. Local 638, of which members of the Finterprise are current
and former officials, is a union with jurisdiction over pipe
fitting in New York City, including all five boroughs, and all of
Long Island. Local 638 4s affiliated with (i) the United
Association of Journeymen and Apprentices of the Plumbing and Pipe
Fitting Industry of the United States, Canada (the ‘United

Association”), which represents approximately 355,000 plumbers,.

 

 

 
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pipefitters, sprinkler fitters, service technicians, and welders in
local unions across North America, and (ii) the New York State |
Building and Construction Trades Council (the “Trades Council”),
which represents over 200,000 unionized construction workers in New
York State.

4, The affairs of Local 638 are carried out by union
officials, including business agents, who are assigned to manage
certain geographical areas and who are responsible for the day-to-
day management of the union’s interactions with contractors, and
business agents at large, who oversee other business agents. As
part of their responsibilities, Local 638 business agents are
expected to work to ensure that contracts are awarded to employers
who employ members of Local 638.

The Racketeering Defendants

5. At all times relevant to this Indictment, JAMES CAHILL,
CHRISTOPHER KRAFT, PATRICK HILL, MATTHEW NORTON, WILLIAM BRIAN
WANGERMAN, KEVIN MCCARRON, JEREMY SHEBRAN, a/k/a “Max,” ANDREW
MCKEON, and ROBERT EGAN, the defendants, were members of the
Enterprise who participated in the.operation and management of the
Eriterprise and held | the following positions within organized Labor:

a. CAHILL was, at times relevant to this Indictment,
the President of the Trades Council, a member of the Executive

Council for the New York State American Federation of Labor and

 

 

 
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Congress of Industrial Organizations, a former Business Agent of
Local 638, and a former international representative of New York
State for the United Association. CAHILL was the leader of the
Enterprise.

b. KRAFT was, at times relevant to this Indictment, a
Local 638 Business Agent with a geographical area of midtown

Manhattan, New York.

_ ce HILL was, at times relevant to this Indictment, a

Local 638 Business Agent with a geographical area of Nassau County,

New York.

d. NORTON was, at times relevant to this Indictment, a
Local 638 Business Agent with a geographical area of Queens, New
York.

e. WANGERMAN was, at times relevant to, this Indictment,
a Local 638 Business Agent with a geographical area of Brooklyn and

Staten Island, New York, ©

£. MCCARRON was, at times relevant to this Indictment,
a Local 638 Business Agent with a geographical area of Western

Suffolk County, New York.

g- SHEERAN was, at times relevant to this Indictment, a
Local 638 Business Agent with a geographical area that included

sections of Manhattan, New York.

 

 
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h. MCKEON was, at times relevant to this Indictment, a
Local 638 Business Agent with a geographical area of Queens, New
York.

L. EGAN was, at times relevant to this Indictment, the
Financial Secretary-Treasurer of Local 638.

Purposes of the Enterprise
6. The purposes of the Enterprise included the following:

a. Using Enterprise members’ positions of power with
respect to Locai 638 to receive bribes in exchange for taking
actions favorable to non-union employers, and exercise corrupt
influence on the conduct of labor-management relations within the
construction trades, all to the detriment of Local 638 and the
union members’ interests.

b. Promoting and enhancing the Enterprise and the
activities of the Enterprise’ s members.

Cc. Enriching the Enterprise’s members through, among
other things, honest services fraud and the receipt of bribes.

Means and Methods of the Enterprise
7. Among the means and methods employed by the Enterprise’ s

members in conducting and participating in the conduct of the
affairs of the Enterprise were the following:

a. Members of the Enterprise committed, conspired, and

attempted to commit acts of honest services fraud and the

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solicitation and receipt of cash bribes to enrich the Enterprise
and its members and to the detriment of the members of Local 638.

b. Members of the Enterprise committed, conspired, and
attempted to commit acts of honest services fraud and the
solicitation and receipt of bribes in the form of “loans” that were
never repaid, free meals and drinks, free labor on personal.
property, and purchases of home appliances including garbage
disposal and ice machines, all to enrich the Enterprise and its
members and to the detriment of the members of Local 638.

c. as the leader of the Enterprise, CAHILL directed the
decision-making of officials within the union who are under his
control, expanded the Enterprise, and initiated more of Local 638’s
officials into the Enterprise in order to accept bribes and expand
their influence.

d. Members of the Enterprise exerted control over the
composition of Local 638's leadership, including by influencing
union elections and installing loyal associates into official
positions within Local 638.

The Racketeering Conspiracy
8. From at least in or about October 2018, up to and
including the present, in the Southern District of New York and
elsewhere, JAMES CAHILL, CHRISTOPHER KRAFT, PATRICK HILL, MATTHEW

NORTON, WILLIAM BRIAN WANGERMAN, -KEVIN MCCARRON, JEREMY SHEERAN,

 

 
 

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a/k/a “Max,” ANDREW MCKEON, and ROBERT EGAN, the defendants, and
others known and unknown, being persons employed by and associated
with the Enterprise described in Paragraphs One through Seven of
this Indictment, knowingly combined, conspired, confederated, and
agreed together and with each other to violate the racketeering
laws of the United States, to wit, Section 1962(c) of Title 18,
United States Code, that is, to conduct and participate, directly
and indirectly, in the conduct of the affairs of the Enterprise,
which was engaged in, and the activities of which affected,
interstate and foreign commerce, through a pattern of racketeering
activity consisting of:

a. multiple acts indictable under Title 18, United
States Code, Sections 1343, 1346, and 2 (honest services wire fraud
and aiding and abetting the same);

b. multiple acts involving bribery, chargeable under
New York Penal Law Sections 180.25 (bribe receiving by a labor
official); 110.00 (attempt to commit a crime); and 20.00 (accessory
liability); and

c. multiple acts indictable under Title 29, United
States Code, Section 186 and Title 18, United States Code, Section
2 (dealing with restrictions on payments and loans to labor

organizations and aiding and abetting the same).

 
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9. Tt was a part of the conspiracy that each defendant
agreed that a conspirator would commit at least two acts of
racketeering activity in the conduct of the affairs of the
Enterprise.

Overt Acts

10. In furtherance of the conspiracy and to effect the
illegal object thereof, JAMES CAHILL, CHRISTOPHER KRAFT, PATRICK
HILL, MATTHEW NORTON, WILLIAM BRIAN WANGERMAN, KEVIN MCCARRON,
JEREMY SHEERAN, a/k/a “Max,” ANDREW MCKEON, and ROBERT EGAN, the
defendants, and other known and unknown, committed the following
overt acts, among others, in the Southern District of New York and
elsewhere:

a. On or about October 22, 2018, JAMES CAHILL, the
defendant, received a $3,000 bribe from a non-union employer in the
‘plumbing business (“Employer-1”) and introduced Employer-1 to
CHRISTOPHER KRAFT, the defendant, as an official within Local 638
who Employer-1 could bribe in exchange fox protection and
assistance from Local 638 officials. CAHILL told Employer-1, in
sum and stibstance, “Best thing you can do is... get a rabbi.
Other than me, that’s why I want him to be the rabbi.”

b. On or about November 14, 2018, ROBERT EGAN, the
defendant, and CAHILL each received a $3,000 bribe from Employer-1

at a restaurant in Queens, New York. During an intercepted phone

 

 

 

 
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call the day before, and in advance of the November 14 meeting,
Employer-1l asked CAHILL, in sum and substance, “You got Egan?” to
which CAHILL responded, in sum and substance, “Egan’s lined up.”

c. On or about December 18, 2018, during an intercepted
phone call, CAHILL invited PATRICK HILL, the defendant, to meet
with employer-1 and told him, in sum and substance, “put that on
your calendar and you’1l meet him. But don’t tell anybody you’ re
meeting him. Keep that quiet, you know.” HILL responded, in sum
and substance, “No, no, absolutely not . . . Between you and me.”
The next day, CAHILL and HILL met with Employer-1 and each accepted
a $2,500 bribe. At the meeting, CAHILL told HILL, in sum and
substance, “Here’s why I want you to meet [Employer-1]—he just met
[KRAFT] recently too. In Nassau, you leave [{Employer-1] alone.”
After receiving the bribe, HILL told Employer-1, in sum and ©
substance, “We'll be fine to you.” Following the meeting, CAHILL
told HILL during an intercepted phone call, in sum and substance,
swelcome to the real world.”

d. On or about May 16, 2019, WILLIAM BRIAN WANGERMAN,
the defendant, received a $2,000 bribe from Employer-1l during a
meeting that was also attended by CAHILL and HILL. During the
meeting, CAHILL asked WANGERMAN, in sum and substance, “do you have
anything to toss [Employer-1]’s way,” to which WANGERMAN responded,

in sum and substance, “Got a couple of things that, uh, you know

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that whole area, unfortunately the freaking Jews bought all of East
New York.” Later in the meeting, Employer-1 stated, in sum and
substance, “Yeah, listen. We. . . Brian already talked, so he’s
gonna--we’ re gonna get back on the train.”

e, On or about June 14, 2019, MATTHEW NORTON, the
defendant, received a $2,000 bribe from Employer-1 in exchange for
not objecting to Employer-1 bidding on construction projects in
NORTON’s terxitory. At the same meeting, CAHILL and HILL also
received $2,000 bribes from Employer-1l. NORTON told Employer-1
during the meeting, in sum and substance, “Business is business.

. The real world is the real world and there’s .. . always
wiggle room as long as everyone. . - understands each other, and
everyone’s taken care of,” and that NORTON needed to know in
advance when Employer-1 was bidding “so that I don’t have egg on my
face like a fucking idiot.”

£. On or about August 30, 2019, KEVIN MCCARRON, the
defendant, received a $1,500 bribe from Employer-1. During the
meeting, Employer-1 said to MCCARRON, in sum and substance, “Help
me get jobs and we’/ll . . . work out, and we’11 make some money, “
toe which MCCARRON responded, “Oh, absolutely.” MCCARRON also
explained to Employer-1 the nature of his relationship with CAHILL,

stating, in sum and substance, “What I love about Jimmy—what I

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fucking Love about Jimmy, and I say this to everybody. He takes
care of his friends.”

g. On or about September 19, 2019, ANDREW MCKEON, the
defendant, received a $1,500 bribe from Employer-1. At the same
meeting, KRAET and HILL also received $1,500 bribes from Employer-
1. Prior to paying the bribe to MCKEON, Employer-1 discussed with
MCKEON, in substance and in part, at least one job that Employer-1
had in MCKEON’s geographic area. Employer-1l expressed a desire to
develop a “give and take” relationship with MCKEON such that MCKEON
would not “hammer [Employer-1] in the ass,” and MCKEON agreed they
would figure things out on a “jJob-by-job” basis. |

h. On or about October 21, 2019, CAHILL told Employer~
1, in sum and substance, “Here's the thing. I give you Paddy
[HILL]. But if Paddy fucks up and does stupid things, you have to
tell me... LI got my guys, I got the guys who come to me, and you
know that, and everyone knows who comes to me.” CAHILL further
told Bmployer-1, in sum and substance, that “with Paddy Hill, I did
everything to get him elected.” During the same meeting, CAHILL
encouraged Employer-1, in sum and substance, not to sign with a
union, but instead to “tell everyone to go fuck themselves” because
“if you become union, you'll have 12 fucking guys on your back.”
CAHILL further advised Employer-1, in sum and substance, to “go

forward. Do not stop. There's nobody who can stop you. The only

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person who can stop you is you yourself.” In sum and substance,
CAHIOL assured Employee-1 of his assistance and explained that
Employee-1l should “fuck everybody as much as you want. You want
everybody to hate you because when they hate you, they’re going to
come for you. Paddy’s the same way. Kraft’s the same way. You
don’t need Kraft. Be nice to him. Say hello.” CAHILL also told
Employer-1, in sum and substance, to tell CAHILL what Employer-1l
wanted from certain union officials who are “all petrified. I
don’t know the reason why they’re so petrified. I never gave them
a reason to be petrified... . But didn’t they shit their pants
when you told them you're friends with me?” —

i. On or about November 12, 2019, HILL,and JEREMY
SHEERAN, a/k/a “Max,” the defendant, met with Employer-1 and each
accepted a $1,500 bribe. During the meeting, SHEERAN discussed
getting CAHILL’ s approval to meet with Employer-1 and stated, in

sum and substance, “Jimmy’s telling me a lot . . . Pat [HILL]
already told, Pat told me to .. . the first thing I said Ls, you
clear this with Jimmy?”

7}. On ox about May 15, 2020, CAHILL provided Employer-1l
with a photograph of an ice machine from an appliance supplier and

told Employer-1, in sum and substance, “Take this with you in case

you fucking forget. I’m waiting two fucking summers,” a reference

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to CAHILL’s longstanding demand that Employer-1 purchase and
install an ice machine in CAHILL’s home.
{Title 18, United States Code, Section 1962 (d).)

COUNT TWO
(Honest Services Fraud Conspiracy}

The Grand Jury further charges:

ii. The allegations contained in paragraphs 1 through 7 and
10 of this Indictment are repeated and re-alleged as if fully set
forth herein.

12. Local Union 200 of the United Association of Journeyman
and Apprentices of the Plumbing and Pipe Fitting Industry of the
United States and Canada (“Local 200%) is a union with jurisdiction
“over all plumbing work on Long Island, New York. Local 200 is
affiliated with the United Association, which as alleged above,
represents approximately 355,000 plumbers, pipefitters, sprinkler
fitters, service technicians, and welders in local unions across
North America.

13. ARTHUR GIPSON, the defendant, was at times relevant to
this Indictment, a Local 200 Business Agent with a geographical
area that .included all of Long Island.

14. SCOTT ROCHE, the defendant, was at times relevant to this
Indictment, a Local 638 Business Agent at Large.

15. From at least in or about October 2018 through the

present, in the Southern District of New York and elsewhere, JAMES

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CAHILL, CHRISTOPHER KRAFT, PATRICK HILL, MATTHEW NORTON, WILLIAM
BRIAN WANGERMAN, KEVIN MCCARRON, JEREMY SHEERAN, a/k/a “Max,”
ANDREW MCKEON, ROBERT EGAN, SCOTY ROCHE, and ARTHUR GIPSON, the
defendants, and others known and unknown, willfully and knowingly
did combine, conspire, confederate, and agree together and with
each other to violate Title 18, United States Code, Sections 1343
and 1346.

16. It was a part and an object of the conspiracy that JAMES
CAHILL, CHRISTOPHER KRAFT, PATRICK HILL, MATTHEW NORTON, WILLIAM
BRIAN WANGERMAN, KEVIN MCCARRON, JEREMY SHEERAN, a/k/a “Max,”
ANDREW MCKEON, ROBERT EGAN, SCOTT ROCHE, and ARTHUR GIPSON, the
defendants, and others known and unknown, willfully and knowingly,
having devised and intending to devise a scheme and artifice to
defraud, and to (a) deprive the members of Local 638 of their
intangible right to (1) KRAFT, HILL, NORTON, WANGERMAN, MCCARRON,
SHEERAN, MCKEON, EGAN, and ROCHE’s honest services as officials of
Local 638, and (ii) CAHILL’s honest services as an official of the
Trades Council, and (b) deprive the members of Local 200 of their
intangible right to (i) GIPSON’s honest services as an official of
Local 200, and (ii) CAHILL’s honest services as an official of the
Trades Council, would and did transmit and cause to be transmitted
by means of wire, radio, and television communications in

interstate and foreign commerce, writings, signs, signals,

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pictures, and sounds for the purpose of executing such scheme and
artifice, in violation of Title 18, United States Code, Section
1343, to wit, CAHILL, KRAFT, HILL, NORTON, WANGERMAN, MCCARRON,
SHEERAN, MCKEON, EGAN, ROCHE, and GIPSON agreed to accept bribes
from Employer-1 in exchange for CAHILL, KRAFT, HIih, NORTON,
WANGERMAN, MCCARRON, SHEERAN, MCKEON, EGAN, ROCHE, and GIPSON (i)
acquiescing in Employer-1’s bidding and performing construction
work with non-union labor for projects that would otherwise have
potentially been awarded to companies whose employees were
represented by Local 638 and/or Local 200, and (ii} allowing
Employer-1 to falsely hold himself out as using union labor to
‘puilders in order to- obtain plumbing subcontracts, all to the
detriment of Local 638’s and/or Local 200’s members.

(Title 18, United States Code, Sections 1343, 1346, and 1349.)

COUNT THREE
(Conspiracy to Violate the Taft-Hartley Act)

The Grand Jury further charges:
17. The allegations contained in paragraphs 1 through 7, 10,
and 12 through 14 of this Indictment are repeated and re-alleged as

if fully set forth herein.

18. From at least in or about October 2018 through the
present, in the Southern District of New York and elsewhere, JAMES
CAHILL, CHRISTOPHER KRAFT, PATRICK HILL, MATTHEW NORTON, WILLIAM

BRIAN WANGERMAN, KEVIN MCCARRON, JEREMY SHEERAN, a/k/a “Max,”
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ANDREW MCKEON, ROBERT EGAN, SCOTT ROCHE, and ARTHUR GIPSON, the
defendants, and others known and unknown, willfully and knowingly
did combine, conspire, confederate, and agree together and with
each other to commit an offense against the United States, to wit,
to violate Title 29, United States Code, Section 186.

19. It was a part and an object of the conspiracy that JAMES
CAHILL, CHRISTOPHER KRAFT, PATRICK HILL, MATTHEW NORTON, WILLTAM
BRIAN WANGERMAN, KEVIN MCCARRON, JEREMY SHEERAN, a/k/a “Max,”
ANDREW MCKEON, ROBERT EGAN, SCOTT ROCHE, and ARTHUR GIPSON, the
defendants, as officers and employees of labor organizations, would
and did unlawfully and willfully request, demand, receive and
accept, and agree to receive and accept any payment, loan, and
delivery of money. and other things of value exceeding $1,000 in
value from EmpLoyer-1, a person acting in the interest of an
employer whose employees were employed in an industry affecting
commerce and whose employees such labor organizations represented,
sought to represent and would have admitted to membership, in
violation of Title 29, United States Code, Sections 186(a) (2),

(bo) (1) and (d) (2).

20. It was also a part and an object of the conspiracy that
JAMES CAHILL, CHRISTOPHER KRAFT, PATRICK HILGU, MATTHEW NORTON,
WILLIAM BRIAN WANGERMAN, KEVIN MCCARRON, JEREMY SHEERAN, a/k/a

‘Max, ” ANDREW MCKEON, ROBERT EGAN, SCOTT ROCHE, and ARTHUR GIPSON,

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the defendants, as officers and employees of labor organizations
engaged in an industry affecting commerce, would and did unlawfully
request, demand, receive and accept, and agree to receive and
accept the payment, loan, and delivery of money and other things of
value exceeding $1,000 in value from Employer-1, a person acting in
the interest of an employer, which money and other things of value
would-be paid, lent, and delivered, and agreed to be paid, lent,
and delivered to the defendants with the intent to influence their
actions, decisions and duties as such officers and employees of
their respective labor organizations in vidlation of Title 29,
United States Code, Sections 186{a) (4), (b) (1) and (d) (2).

21. In furtherance of the conspiracy, JAMES CAHILL,
CHRISTOPHER KRAFT, PATRICK HILL, MATTHEW NORTON, WILLIAM BRIAN
WANGERMAN, KEVIN MCCARRON, JEREMY SHEBRAN, a/k/a “Max,” ANDREW
MCKEON , ROBERT EGAN, SCOTT ROCHE, and ARTHUR GIPSON, the
defendants, agreed to receive such cash payments and other things
of value in exchange for, among other things, CAHILE, KRAFT, HILL,
NORTON, WANGERMAN, MCCARRON, SHEERAN, MCKEON, EGAN, ROCHE, and
GIPSON (i) acquiescing in Employer~1’s bidding and performing
construction work with non-union labor for projects that would
otherwise have potentially been awarded to companies whose
employees were represented by Local 638 and/or Local 200, and (ii)

allowing Employer-1 to falsely hold himself out as using union

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labor to builders in order to obtain plumbing and steamfitting
subcontracts, all to the detriment of Local 638’s and Local 200's
members.
Overt Acts

22. In furtherance of the conspiracy and to effect the
illegal objects thereof, JAMES CAHILL, CHRISTOPHER KRAFT, PATRICK
HILL, MATTHEW NORTON, WILLIAM BRIAN WANGERMAN, KEVIN MCCARRON,
JEREMY SHEBRAN, a/k/a “Max,” ANDREW MCKEON, ROBERT EGAN, SCOTT |
ROCHE, and ARTHUR GIPSON, the defendants, and other known and
unknown, committed the following overt acts, among others, in the

Southern District of New York and elsewhere:

a. On or about March 13, 2020, CAHILL received a $3,000
bribe from Employer-1 at a restaurant in Harrison, New York.

b. On ot about March 1, 2019, KRAFT received a $3,000
bribe from Employer-1 at a restaurant in Long Beach, New York,
during which meeting CAHILL and HILL also each received a $3,000
bribe from Employer-i. .

c. On or about May 15, 2020, HILL xeceived a $1,000
bribe from Employer-1 at a cafe in Palisades, New York, duxing
which meeting CAHILL also received a $2,500 bribe from Employer-i.

d. On or about June 14, 2019, NORTON received a $2,000

bribe from Employer-1 at a restaurant in Long Beach, New York,

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during which meeting HILL and KRAFT also each received a $2,000
}

bribe from Employer-1.

é. On or about May 23, 2019, WANGERMAN and MCCARRON
each received a $2,000 bribe from Employer-1 at a restaurant in

Melville, Long Island.
£. On or about November 12, 2019, SHEERAN and HILL each
received a $1,500 bribe from Employer-1 at a restaurant in

Melville, Long Island.

g. On or about September 19, 2019, MCKEON, KRAFT, and
HILL each received a $1,500 bribe from Employer-i at a restaurant

in Melville, Long Island.

h. On or about January 13, 2020, ROCHE and CAHILL éach
received a $2,500 bribe from Employer-1 at a restaurant in Corona,
Queens.

i. On or about May 10, 2019, EGAN received a $2,000
bribe from Employer-l at a restaurant in Rockville Centre, New
York, during which meeting CAHILL and HILG received bribes of
$3,000 and $2,000, respectively, from Employer-1.

4}. On or about August 19, 2020, GIPSON received a
$1,000 bribe from Employer-1 at a restaurant in Commack, New York,
during which meeting CAHILL and HILL received bribes of $2,000 and

$1,000, respectively, from EmpLloyer-1.

(Title 18, United States Code, Section 371.)

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FORFEITURE ALLEGATION AS TO COUNT ONE

23. As a result of committing the offense alleged in Count
One of this Indictment, JAMES CAHILL, CHRISTOPHER KRAFT, PATRICK
HILL, MATTHEW NORTON, WILLIAM BRIAN WANGERMAN, KEVIN MCCARRON,
JEREMY SHEERAN, a/k/a “Max,” ANDREW MCKEON, and ROBERT EGAN, the
defendants, shall forfeit to the United States, pursuant to Title
18, United States Code, Section 1963, any and all interests the
defendants acquired and maintained in violation of Title 18, United
States Code, Section 1962; any and all interests in, securities of,
claims against, and property and contractual rights of any kind
affording a source of influence over, the enterprise named and
described herein which the defendants established, operated,
controlled, conducted, and participated in the conduct of, in
violation of Title 18, United States Code, Section 1962; and any
and all property constituting and derived from proceeds obtained,
directly and indirectly, from the racketeering activity alleged in
Count One of this Indictment, including but not limited to a sum of
money in United States currency representing the amount of proceeds
traceable to the commission of said offense that the defendants
personally obtained.

FORFELTURE ALLEGATION AS TO COUNT TWO
24. As a result of committing the offense alleged in Count

Two of this Indictment, JAMES CAHILL, CHRISTOPHER KRAFT, PATRICK

20

 

 

 
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HILL, MATTHEW NORTON, WILLIAM BRIAN WANGERMAN, KEVIN MCCARRON,
JEREMY SHEERAN, a/k/a “Max,” ANDREW MCKEON, ROBERT EGAN, scorr
ROCHE, and ARTHUR GIPSON, the defendants, shall forfeit to the
United States, pursuant to Title 18, United States Code, Section
981(a) (1) (C) and Title 28 United States Code, Section 2461(c), any
and all property, real and personal, that constitutes or is derived
from proceeds traceable to the commission of said offense,
including but not limited to a sum of money in United States
currency representing the amount of proceeds traceable to the

commission of said offense.

FORFEITURE ALLEGATION AS TO COUNT THREE
295. As a result of committing the offense alleged in Count
Phree of this Indictment, JAMES CAHILL, CHRISTOPHER KRAFT, PATRICK .
HILL, MATTHEW NORTON, WILLIAM BRIAN WANGERMAN, KEVIN MCCARRON,
JEREMY SHEERAN, a/k/a “Max,” ANDREW MCKEON, ROBERT EGAN, SCOTT

ROCHE, and ARTHUR GIPSON, the defendants, shall forfeit to the

‘United States, pursuant to Title 18, United States Code, Section
981 (a) (1) (C) and Title 28 United States Code, Section 2461(c), any
and all property, real and personal, that constitutes or is derived
from proceeds traceable to the commission of said offense,
including but not limited to a sum of money in United States
currency representing the amount of proceeds traceable to the

commission of said offense.

21.

 

 
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Substitute Assets Provision
26. If any of the above described forfeitable property, as a
result of any act or omission of the defendants:
a. cannot be Located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited with,

a third person;

c. has been placed beyond the jurisdiction of the

Court; :

da. has been substantially diminished in value; or

Q. has been commingled with other property which cannot

be subdivided without difficulty;

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it is the intent of the United States, pursuant to Title 18, United

States Code, Section 1963(m), Title 21, United States Code,

Section 9853(p), and Title 28, United States Code, Section 2461 (c),
to seek forfeiture of any othex property of the defendants up to

the value of the above forfeitable property.

(Title 18, United States Code, Sections 981 and 1963;
Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

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FOREPERSQN/ ILAN T. GRAFF isp
Attorney for the United States

Acting Under Authority Conferred
by 28 U.S.C. § 515

 

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Case 1:20-cr-00521-€M Document 1 Filed 10/01/20 Page 24 of 24

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Form No. USA-33s-274 (Bd. 9-25~-58)-

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
“Wom

JAMES CAHILL,
CHRISTOPHER KRAFT,
PATRICK HILL,
MATTHEW NORTON,
WILLIAM BRIAN WANGERMAN,
KEVIN MCCARRON,
JEREMY SHEERAN, a/k/a “Max,”
ANDREW MCKEON,
ROBERT EGAN, =,
SCOTT ROCHE, and
ARTHUR GIPSON,
Defendants.

 

INDICTMENT
20 Cr. { )

(Title 18, United States Code,

Sections 371, 1343, 1346, 1349,
' and 1962).

ILAN T. GRAFE
Attorney for the United States

Acting Under Authority Conferred
by 28 U.S.C. § 515

A TRUE BILL

VY

Foreperson.

 

 

 
